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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                  )
                                           )
               Plaintiff,                  )    CRIMINAL NO. 19-2848 JB
                                           )
     vs.                                   )
                                           )
VICTOR KEARNEY,                            )
                                           )
               Defendant.                  )


               UNITED STATES’ MEMORANDUM IN SUPPORT OF
                     SENTENCING RECOMMENDATION

       The defendant, Victor Kearney (hereinafter, “Defendant”), stands before the

Court for sentencing after a jury found him guilty in March 2023 of conspiring with his

accountant and tax attorney, the late Robert Fiser (hereinafter, “Fiser”), to conceal

millions of dollars in taxable income from the Internal Revenue Service (“IRS”) and

avoid paying more than $1 million due and owing on this substantial fortune. Defendant

has also shown repeated “contempt for the judicial system and courts[,]” engaged in

“skullduggery” and “obnoxious conduct[,]” and displayed “appalling litigation habits” in

previous civil and bankruptcy cases. Kearney v. Unsecured Creditors Committee, et al.,

987 F.3d 1284, 1298, 1301 (10th Cir. 2021). Under these circumstances, and consistent

with all proper sentencing considerations, the United States recommends the Court

impose an aggregate sentence on Defendant of 60 months in prison, three years of

supervised release, $1,188,645.00 in restitution, and 400 hours of community service.



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   I.      Background

        On March 10, 2023, a federal jury sitting in Albuquerque, New Mexico found

Defendant guilty of one count of conspiracy, in violation of 18 U.S.C. § 371, and one

count of making and subscribing a false return, statement, or other document, in violation

of 26 U.S.C. § 7206(1). Doc. 131 at 1-2.

        The evidence at trial showed Defendant received significant income each year as

the beneficiary and co-trustee of two testamentary trusts established after the death of

Defendant’s first wife, Mary Pat Abruzzo-Kearney. From 1997 to 2013, Defendant

received about $16 million in trust income. These trusts were shareholders in Alvarado

Realty Company (“ARCO”).

        At first, Defendant properly reported his trust income for several years on tax

returns prepared by H. Myrle Schwalm, a certified public accountant. Then ARCO

restructured into a C corporation with subchapter S status. This meant corporate income,

losses, deductions, and credits now passed to shareholders for tax purposes. Since the

taxes Defendant owed to the government were no longer withheld by ARCO or the trusts,

Defendant did not pay them. Instead, Defendant conspired with a different tax preparer,

Fiser, to submit knowingly false tax returns for 2007 through 2011 showing no or little

trust income with a supposed intent to later amend those returns to include the full trust

income. Defendant never filed such amended returns, however, either personally or

through Fiser. He owes the IRS $1,188,645.00.

        This is not Defendant’s first contact with the legal system. In 2013, Defendant

filed a lawsuit against his former brothers-in-law, Benjamin and Louis Abruzzo, as co-

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trustees. He claimed, in substance, that they mismanaged the trusts to Defendant’s

financial disadvantage. Benjamin and Louis Abruzzo countersued Defendant. A judge in

the Second Judicial District Court for the State of New Mexico resolved all of these

claims in favor of the Abruzzos.

       During the litigation, District Judge Alan M. Malott heard evidence that prompted

him to refer Defendant’s case to the IRS for further investigation. Judge Malott also made

these findings during the litigation:

       The record is replete with Kearney's repeated breaches of his duty as
       a Trustee through his self-dealing with third parties, improper
       disclosures of financial information, and attendant violations of the
       Orders of this Court, as well as the clear indication that future
       litigation will ensure, notwithstanding his resignation as a Trustee.
Doc. 152-2 at 24.

       The Court has already found that Mr. Kearney has significant
       credibility issues. . . . Nothing at trial assuaged those issues. . . . The
       parties have reached a level of discord, distrust, and distaste such that
       it would be difficult or impossible for Louis Abruzzo or Benjamin
       Abruzzo to serve appropriately as Trustees, compensated or
       uncompensated, into the foreseeable future.

Id.

       Clear and convincing evidence exists that Victor Kearney is unable to
       successfully manage his financial life on the trust distributions he
       receives, and is significantly in debt. . . . Clear and convincing
       evidence exists that Mr. Kearney's income tax issues may directly
       impact the Mary Pat Abruzzo Kearney Trust assets and the
       remaindermen beneficiaries' interests. . . . Clear and convincing
       evidence exists that Mary Pat Abruzzo Kearney did not anticipate the
       facts and circumstances shown by the evidence in this case, and that
       modification of the Trust is appropriate[.]
Id. at 13.



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       Defendant also filed a bankruptcy case on September 1, 2017. In re Victor

P. Kearney, Case No. 17-12274-t11, United States Bankruptcy Court, District of

New Mexico, Doc. 1. This occurred on the eve of a hearing in the state court action

about the appointment of a successor trustee. The bankruptcy case ended with a

Chapter 11 discharge granted to Defendant on September 25, 2023. In re Kearney,

Case No. 17-12274-t11, Doc. 1435. During the bankruptcy proceedings, the

Honorable David T. Thuma, United States Bankruptcy Judge, made these findings:

       A strong argument can be made, and the Court believes, that the
       [Unsecured Creditors’ Committee] Plan is in the Debtor’s best
       interest. He will get a bankruptcy discharge. $3,000,000 will pay his
       debts of more than $8,600,000. He will no longer be able to waste
       time and money pursuing questionable litigation against his in-laws.
       He may be forced for a time into gainful employment, which might
       not be a bad thing. It is time for him to move on. While Debtor cannot
       see that, it is obvious to most others. After four years or so of
       reasonable belt-tightening, Debtor can live post-bankruptcy with a
       fresh start and the prospect of a healthy lifetime income most people
       would consider a godsend. The Plan was proposed and developed in
       good faith.

In re Kearney, Case No. 17-12274-t11, Doc. 845 at 17.

       There is support in the record for Judge Malott’s finding that Ms.
       Kearney’s foremost goal was preserving a good relationship with her
       brothers. There also is abundant evidence that Ms. Kearney could not
       have anticipated her husband’s obsession with suing her brothers, nor
       that the trusts she created for his well-being would become his
       instruments to bludgeon them and the family business with endless,
       fruitless litigation.

Id. at 20.




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During the bankruptcy proceedings, the United States Court of Appeals published an

opinion affirming the unsecured creditors’ committee’s plan. Kearney, 987 F.3d 1284. In

the opinion, the Court found:

          Since 1997, the MPK Trusts have distributed about $800,000 a year
          to Mr. Kearney. Yet he managed to accumulate over $7 million in
          debts by the time he filed for Chapter 11 bankruptcy on September 1,
          2017. It is apparent from the evidence in this case that Mr. Kearney’s
          financial problems arise not from illness, accident, or bad luck, but
          from a pattern of his own bad choices.

Id. at 1288.

          Mr. Kearney also attacks the bankruptcy court’s finding that ‘‘[h]e is
          not a sympathetic plaintiff,’’ saying the court made this erroneous
          finding ‘‘[b]ecause it had no evidence before it that Kearney’s claims
          are without merit . . . .” . . . To the contrary, the record is replete with
          evidence of Mr. Kearney’s obnoxious conduct supporting that
          finding, including his misconduct with respect to the Trusts, his
          credibility issues, his contempt for the courts and the judicial process,
          and his appalling litigation habits.
Id. at 1298.

          In sum, Mr. Kearney’s established contempt for the judicial system
          and courts does not bode well for his litigations. His skullduggery not
          only diminishes his chances of future success as a plaintiff, but also
          exposes him and the Trusts to further sanctions.
Id. at 1301.

          In preparation for sentencing in the instant case, members of the

Abruzzo family submitted letters to the Court. Notably, Benjamin Abruzzo

stated:


          Since the very early months following the passing of our sister Mary
          Pat, Mr. Kearney has made it very clear that his interest was to extract
          every dollar possible from our sister’s trust and take control over her
          estate for his sole benefit and ignoring her wishes.

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          Regardless of the numerous times he has failed in court, his attempts
          to take control of our family businesses, his obsurd attempts to defame
          our family name and tarnish our sister’s legacy, he shows no sign of
          ending the attacks.

Id. at 7.
          Louis Abruzzo stated:

          Kearney’s only goals in life are to take money from people, society,
          the government and avoid paying it back. He is a master con man and
          will take the life savings of retirees and employees without any
          conscience. He was able to attract law firms to represent him without
          payment and even convinced lawyers Domenici and Fiser to loan him
          money to sue us. In his self-absorbed, narcissistic mind set, all his
          problems were generated and inflicted upon him by others. He bears
          no responsibility or remorse for his delinquent actions and injury to
          others. I believe he will continue on this path for life.

          Our family has been blessed by this community supporting our
          various businesses that my father and Mr. Bob Nordhaus envisioned
          and built. Our goal was to honor that by working hard, not risking the
          farm while improving it, growing it, making jobs and careers
          available, and serving the public while enhancing New Mexico. I
          guess the part we did not expect was, above all, to protect the
          companies from the likes of Kearney. What I did learn is although the
          judicial system is complicated and slow thanks to appeals and side
          steps, if you are honest, have staying power, have good counsel (the
          A-Team), the judges are smart, fair, do their homework and come to
          the right conclusion. Additionally, the juries also are able to see
          through the smoke and mirrors and render a fair verdict.

Doc. 164-1 at 6.

          Nancy Abruzzo, the wife of a third brother, the late Richard Abruzzo,
stated:

          He would stop at nothing, he has no moral boundary and is a master
          manipulator. The most egregious acts of intimidation include him
          moving his new family into the old Abruzzo family home right next
          door to me. A place where Richard and Mary Pat (his wife) once lived
          and secured the web-site domain names that includes me and my


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         children's names. Actions that display signs of his real potential to
         harm, to scare and threaten us in a very intentional way.
Doc. 179 at 1.
         Stacy Abruzzo, the wife of Louis Abruzzo, stated:

         I feel like Victor’s actions are always plotted. They have robbed Louis
         of hundreds of hours of his time, many hours of sleep, and have
         brought intentional chaos into our lives for over a decade. He has also
         robbed so many others (not just us) of a ridiculous amount of money
         and their peace too. His email address VKARNAGE is a good self-
         description of what he leaves behind.
Doc. 164-1 at 3.

   II.      Law

         The Court must impose a sentence within statutory parameters that is “sufficient,

but not greater than necessary” to comply with the purposes of sentencing set forth in 18

U.S.C. § 3553(a). In fixing a sentence, the Court must consider the nature and

circumstances of the offense and the history and characteristics of the defendant. 18

U.S.C. § 3553(a)(1). The Court must also consider the need for the sentence imposed to

reflect the seriousness of the offense, promote respect for the law, and provide just

punishment. 18 U.S.C. § 3553(a)(2)(A). The Court must also consider the need for the

sentence to afford adequate deterrence to criminal conduct, 18 U.S.C. § 3553(a)(2)(B),

protect the public from further crimes by the defendant, 18 U.S.C. § 3553(a)(2)(C), and

avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct, 18 U.S.C. § 3553(a)(6).

         In arriving at a proper sentence, the Court must also consider the advisory

guidelines, policy statements, and official commentary of the United States Sentencing


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Commission. 18 U.S.C. § 3553(b)(1). These guidelines should, however, only serve as a

starting point or initial benchmark in determining an appropriate sentence. Gall v. United

States, 552 U.S. 38, 49 (2007); United States v. Rosales-Miranda, 755 F.3d 1253, 1259

(10th Cir. 2014). The guideline ranges are advisory, not mandatory. United States v.

Booker, 543 U.S. 220 (2005); United States v. Baca, 250 F.Supp.3d 1164, 1171 n.1

(D.N.M. 2018) (Browning, J.) (“Attorneys and courts often say that the ‘Guidelines’ are

advisory, but it appears more appropriate to say that the resulting Guidelines ranges are

advisory.”)

    III.      Argument

           The United States recommends the Court impose an aggregate sentence on

Defendant of 60 months in prison, three years of supervised release, $1,188,645.00 in

restitution, and 400 hours of community service. 1

           In this case, the U.S. Probation Office (hereinafter, the “Probation Office”) has

disclosed a Presentence Investigation Report (“PSR”) setting forth the advisory

sentencing guidelines applicable to Defendant based on his particular crimes and other

circumstances. The Probation Office disclosed an initial version of the PSR on May 26,




1
 More precisely, the United States recommends a sentence for the conspiracy conviction
of 60 months in prison, three years of supervised release, $1,188,645.00 in restitution,
and 400 hours of community service, and a concurrent sentence for making and
subscribing a false return of 36 months in prison, one year of supervised release,
$1,188,645.00 in restitution, and 400 hours of community service. As the guidelines
provide, “If the sentence imposed on the count carrying the highest statutory maximum is
adequate to achieve the total punishment, then the sentences on all counts shall run
concurrently, except to the extent otherwise required by law.” U.S.S.G. § 5G1.2(c).
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2023, Doc. 153, and an amended version of the PSR on October 6, 2023, Doc. 191. The

Probation Office has also disclosed four addenda to the PSR. Docs. 164, 169, 177, 195.

       The most recent addendum to the PSR, which was disclosed on November 14,

2023, states that Defendant’s guideline imprisonment range is 33-41 months. Doc. 195 at

2. This accounts for the newly enacted downward adjustment available to “certain zero-

point offenders” under U.S.S.G. § 4C1.1. 2 Notably, the Probation Office determined

Defendant’s guideline range by grouping his counts of conviction because they involved

the same victim and multiple transactions connected to a common criminal objective,

scheme, and plan. Doc. 191 at 9. 3 Defendant faces statutory maximum terms of




2
 Defendant does not deserve further consideration under U.S.S.G. § 5C1.1, comment.
(n.10(B)), because he committed serious offenses and his guideline range does not
overstate the gravity of his crimes.
3
  According to U.S.S.G. § 1B1.3(a)(2), relevant conduct for an offense of conviction
includes “solely with respect to offenses of a character for which §3D1.2(d) would require
grouping of multiple counts, all acts and omissions described in subdivisions (1)(A) and
(1)(B) above that were part of the same course of conduct or common scheme or plan as
the offense of conviction[.]” In this case, the applicable guideline for Defendant’s offense
conduct, namely U.S.S.G. § 2T1.1, falls within the scope of U.S.S.G. § 3D1.2(d), as
referenced above. Thus, each offense of conviction in this case is relevant conduct for the
other. In light of this, the United States respectfully requests the Court make a specific
finding at sentencing that all of the conduct underlying the conspiracy count is also relevant
conduct for the substantive count of making and subscribing a false return, statement, or
other document. The Court has already denied Defendant’s motion for a new trial and, in
doing so, rejected his claim the United States failed to establish a Klein conspiracy. Doc.
185. It is foreseeable Defendant might re-assert his claim about a Klein conspiracy on
appeal. The United States is seeking a ruling from the Court on what sentence it would
impose on remand from a successful defense appeal in the event the conspiracy conviction
is vacated but the substantive tax offense conviction is affirmed.

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imprisonment of five years for conspiracy and three years for making and subscribing a

false return. Id. at 14.

       Defendant’s guideline imprisonment range of 33-41 months, which is below the

statutory maximum for his conspiracy offense, is a proper starting point and benchmark

in determining Defendant’s sentence. See Gall, 552 U.S. at 49; Rosales-Miranda, 755

F.3d at 1259. Importantly, the guidelines hold Defendant meaningfully accountable

under U.S.S.G. § 2T1.1(a)(1) for the $1,188,645.00 tax loss he caused the Internal

Revenue Service. The guidelines also hold Defendant duly accountable under U.S.S.G.

§2T1.1(b)(1) for his failure to report annual income exceeding $10,000 from criminal

activity. See Doc. 191 at 9.

       [T]he criminal tax laws are designed to protect the public interest in
       preserving the integrity of the nation’s tax system. Criminal tax
       prosecutions serve to punish the violator and promote respect for the
       tax laws. Because of the limited number of criminal tax prosecutions
       relative to the estimated incidence of such violations, deterring
       others from violating the tax laws is a primary consideration
       underlying these guidelines. Recognition that the sentence for a
       criminal tax case will be commensurate with the gravity of the
       offense should act as a deterrent to would-be violators.

U.S.S.G. § 2T1.1, Introductory Commentary.

       There is “critical deterrent value [in] imprisoning serious white collar criminals,

even where those criminals might themselves be unlikely to commit another offense.”

United States v. Sample, 901 F.3d 1196, 1200 (10th Cir. 2018) (quoting United States v.

Martin, 455 F.3d 1227, 1240 (11th Cir. 2006)). “White collar criminals may be

particularly susceptible to general deterrence because “[d]efendants in white-collar

crimes often calculate the financial gain and risk of loss, and white-collar crime therefore

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can be affected and reduced with serious punishment.” Id. (quoting United States v.

Kuhlman, 711 F.3d 1321, 1329 (11th Cir. 2013)).

       The guidelines also correctly deny Defendant any credit for accepting

responsibility of his crimes, pursuant to U.S.S.G. § 3E1.1, as such a benefit is “not

intended to apply to a defendant who puts the government to its burden of proof at trial

by denying the essential factual elements of guilt, is convicted, and only then admits guilt

and expresses remorse.” U.S.S.G. § 3E1.1 comment. n.2.

       The guidelines also account for Defendant not having a prior criminal history. He

is classified as a category one offender and received a specific downward adjustment,

pursuant to U.S.S.G. § 4C1.1, for “zero-point offenders.” See Doc. 195 at 2. The

Probation Office did not identify any additional factors that would warrant an upward or

downward departure from Defendant’s applicable guideline range. Doc. 191 at 16.

Accordingly, a guideline term of imprisonment in the range of 33 to 41 is a good starting

point for determining Defendant’s sentence. Defendant has no mitigating characteristics

or circumstances present to an unusual degree that distinguish his case from the heartland

of cases covered by the guidelines.

       But imposing a guideline sentence on Defendant is, however, insufficient to

adequately punish him when all sentencing factors are duly considered. See 18 U.S.C. §

3553. The Court must, of course, also look beyond the guidelines to consider a

defendant’s full history and characteristics in arriving at an appropriate sentence. 18

U.S.C. § 3553(a)(1). In choosing a proper sentence, the Court should, of course, consider

the “past life and habits of [the] particular offender.” See Williams v. People of the State

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of New York, 337 U.S. 241, 247 (1949). Here is where Defendant’s aggravating

characteristics and prior conduct distinguish him from the heartland of cases involving

other defendants convicted of these crimes. Defendant’s unique and disturbing personal

history calls for a sentence above the guideline range.

        The PSR, to be sure, contains a great deal of useful information about Defendant’s

personal biography, history, marriages, physical condition, mental and emotional health,

education, employment, and financial condition. The PSR does not, however, cover the

full scope of his background. There is additional information to be gleaned from his prior

involvement in other legal actions that casts a dark cloud over his reputation and

character. The interests of justice dictate that the Court factor this information in arriving

at a fitting sentence.

        In this case, Defendant’s deplorable personal history and characteristics support a

sentence that is significantly higher than usual for a typical first-time federal offender

who committed the statutory tax crimes proven at trial. See 18 U.S.C. § 3553(a)(1).

Indeed, the United States has filed a motion for an upward variance on this basis. Doc.

52. 4


4
  To be sure, the guidelines state: “Although the court must consider ‘the history and
characteristics of the defendant’ among other factors . . . in order to avoid unwarranted
sentencing disparities[,] the court should not give them excessive weight. Generally, the
most appropriate use of specific offender characteristics is to consider them not as a
reason for a sentence outside the applicable guideline range but for other reasons, such as
in determining the sentence within the applicable guideline range, the type of sentence
(e.g., probation or imprisonment) within the sentencing options available for the
applicable Zone on the Sentencing Table, and various other aspects of an appropriate
sentence.” The United States urges the Court to depart upward pursuant to 18 U.S.C. §
3553 and Booker in Defendant’s case anyway due to the extraordinary nature of his
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       Most notably, Defendant has repeatedly abused and disrespected the legal process

in bankruptcy and state courts by filing and pursuing dubious claims and engaging in

malicious conduct intended to serve his own greedy self-interest and inflict needless

emotional harm on his former in-laws, the Abruzzo family. This federal criminal tax case

is not an entirely separate matter, but rather a direct outgrowth of Defendant’s meritless

civil action against the Abruzzos in which the trial judge referred Defendant’s tax

situation to the IRS for investigation.

       The Tenth Circuit has gone so far as to call Defendant’s prior behavior in other

court cases “skullduggery” and “obnoxious conduct” and specifically acknowledge his

“appalling litigation habits” and general “contempt for the judicial system[.]” Kearney v.

Unsecured Creditors Committee, et al., 987 F.3d 1284, 1298, 1301 (10th Cir. 2021). The

emotional harm the Abruzzo family has suffered from Defendant’s conduct is palpable in

the letters submitted to the Court by family members.

       Defendant also deserves a sentence that is substantially greater than his less

culpable co-defendant, Fiser. See U.S.S.G. § 3553(a)(6). In this case, Fiser received a

prison sentence of 15 months in prison before cooperation and 6 months in prison after

cooperation. Defendant is clearly more culpable, however, and, therefore, deserves much

longer incarceration. To be sure, Fiser abused the public’s trust and used his special skills

as a licensed attorney and accountant to help Defendant dodge his taxes, but Fiser




misconduct in prior litigation, as specifically recognized by the Tenth Circuit in the
bankruptcy case. This would give sufficient but not excessive weight to Defendant’s
history and characteristics.
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received no financial advantage from his crimes and Defendant stiffed Fiser for tax return

preparation fees and a personal loan. This puts Defendant in a category with more

culpable offenders.

       On a related point, the Probation Office sent an email to counsel for both parties

on March 8, 2024, described the sentences imposed from fiscal years 2018 to 2022 on the

23 other defendants in criminal history category I with a total offense level of 22 who

were subject to the same primary offense guideline at Defendant, i.e., U.S.S.G. § 2T1.1,

but did not receive credit under U.S.S.G, §5K1.1 for substantial assistance. Twenty-two

of the defendants in this cell received sentences that included terms of imprisonment. For

all defendants in the cell, including those who received non-custodial sentences, the

average term of imprisonment imposed was 27 months and the median sentence imposed

was 33 months. For those defendants sentenced to prison, the average term was 28

months and the median was 33 months. In this case, Defendant deserves much more

because his history and characteristics are extraordinarily bad in ways not covered by the

guidelines.

       To be sure, the PSR does not identify any factors to justify a variance from the

guidelines in this case, either upwards or downwards. Doc. 191 at 17. The PSR also does

not address the civil litigation in any detail or take note of the troubling judicial findings

about Defendant’s character, including the words of the Tenth Circuit. Accordingly, the

Court should not rely on the PSR for a full assessment of aggravating circumstances in

this case.



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         When the Court applies all of the authorized sentencing factors to Defendant’s

case, as required by 18 U.S.C. § 3553, especially the need to promote respect for the law

and afford adequate deterrence, it should find the maximum term of imprisonment

authorized by law in this case, 60 months, is sufficient but not greater than necessary to

comply with the purposes of sentencing. Defendant has shown flagrant disrespect for the

legal process in the past, including the role of judges. A lenient sentence in this case

would do nothing to reform his behavior going forward. Rather, a light sentence would

encourage Defendant to engage in further misconduct and feed his delusional belief that

he deserves preferential treatment from the courts and that the usual rules of society and

judicial process don’t apply to him. The Court should not indulge Defendant in this way.

The Court should give him the maximum term of imprisonment.

   IV.      Conclusion

         The United States recommends the Court sentence Defendant to an aggregate term

of 60 months in prison following by three years of supervised release, order

$1,188,645.00 in restitution, and require Defendant to complete 400 hours of community

service.


                                                         ALEXANDER M.M. UBALLEZ
                                                         United States Attorney

                                                         /s/ Sean J. Sullivan
                                                         SEAN J. SULLIVAN
                                                         KIMBERLY A. BRAWLEY
                                                         Assistant United States Attorneys
                                                         Post Office Box 607
                                                         Albuquerque, NM 87103
                                                         (505) 346-7274


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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of March, 2024, I filed the foregoing
pleading electronically through the CM/ECF system, and served counsel of record with this
pleading by email.

                                               Electronically filed
                                               SEAN J. SULLIVAN
                                               Assistant U.S. Attorney




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